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United States District Court

NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

2999TC ACQUISITIONS, LLC fik/a

MO 2999 TC, LLC, and
TIMOTHY L. BARTON,

2999 TURTLE CREEK, LLC,
MADISON REALTY CAPITAL, LP,
MARC ZEGEN, and JOSHUA ZEGEN.

§
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v. § CIVIL ACTION NO, 3:20-CV-3229-S-BT
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§
JUDGMENT

The Court has entered its Order Accepting the Findings, Conclusions, and
Recommendation of the United States Magistrate Judge.

It is therefore ORDERED that Defendants’ Rule 12(b)(6) motion [ECF No. 52] is
GRANTED with respect to Plaintiffs’ federal trade-secrets claim, and Plaintiffs’ federal trade-
secrets claim against Defendants is DISMISSED with prejudice. Additionally, the Court
DECLINES to exercise supplemental jurisdiction over Plaintiffs’ remaining state-law claims, and

those claims are DISMISSED without prejudice. Finally, Defendant Madison Reaity Capital, LP,

Mare Zegen, and Joshua Zegen’s Rule 12(b}(2) motion [ECF No. 54] is DENIED as moot.

UNITED STATES DISTRICT JUDGE

SO ORDERED.

SIGNED July 26, 2021.

